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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 9                                            AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                       Case No. CR04-5350RBL
                              Plaintiff,
12                     v.                                ORDER
13     TITUS BRIDE,
14                            Defendant.
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17           THIS MATTER comes on before the above-entitled Court upon Defendant’s Letter/Motion to

18   Amend the Presentence Report [Dkt. #711]. Having considered the entirety of the records and file herein,

19   the Court finds and rules as follows:

20           On April 14, 2006 the defendant was sentenced to nineteen (19) years pursuant to a Fed. R. Crim.

21   P. 11(c)(1)(C) plea agreement. The sentence was upheld on appeal. He now asks the Court to amend his

22   Presentence Report to delete the four level increase assessed for being a “leader or organizer” and to

23   delete references to the defendant as a “danger to the community” based upon his possession of a loaded

24   9mm handgun. He seeks these amendments so that he may be eligible for placement at a Federal Prison

25   Camp.

26           The Presentence Report correctly included a four level increase for defendant’s role in the offense.

27   All the evidence presented to the Court during several hearings involving Bride and his co-defendants left

28   this Court convinced that Bride was one of the leaders of the Seven Deuces Mob, no matter how loosely


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 1   the “mob” may have been organized.
 2          The Presentence Report also correctly characterized the defendant as a danger to the community.
 3   Drug dealers by definition are a danger to the community. They distribute a product that tears at the very
 4   fabric of a community by destroying lives and families. Drug dealers and users cost a community untold
 5   dollars in public safety expense and stretch limited social services funds to the breaking point. Drug
 6   dealers who carry guns are even more of a threat. Bride, a convicted felon, who sold large quantities of
 7   cocaine base and carried a gun, was a danger to this community.
 8          Defendant’s Letter/Motion to Amend His Presentence Report [Dkt. #711] is DENIED.
 9          The Clerk shall send uncertified copies of this order to all counsel of record, and to any party
10   appearing pro se.
11          Dated this 17th day of December, 2010.


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                                           RONALD B. LEIGHTON
14                                         UNITED STATES DISTRICT JUDGE
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     ORDER
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